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                                  No. 23-50224

           In the United States Court of Appeals
                    for the Fifth Circuit
   LEILA GREEN LITTLE, JEANNE PURYEAR, KATHY KENNEDY, REBECCA JONES,
           RICHARD DAY, CYNTHIA WARING, AND DIANE MOSTER,

                                                                  Plaintiffs-Appellees,
                                        v.

  LLANO COUNTY, RON CUNNINGHAM, IN HIS OFFICIAL CAPACITY AS LLANO COUNTY
      JUDGE, JERRY DON MOSS, IN HIS OFFICIAL CAPACITY AS LLANO COUNTY
    COMMISSIONER, PETER JONES, IN HIS OFFICIAL CAPACITY AS LLANO COUNTY
   COMMISSIONER, MIKE SANDOVAL, IN HIS OFFICIAL CAPACITY AS LLANO COUNTY
   COMMISSIONER, LINDA RASCHKE, IN HER OFFICIAL CAPACITY AS LLANO COUNTY
   COMMISSIONER, AMBER MILUM, IN HER OFFICIAL CAPACITY AS LLANO COUNTY
LIBRARY SYSTEM DIRECTOR, BONNIE WALLACE, IN HER OFFICIAL CAPACITY AS LLANO
 COUNTY LIBRARY BOARD MEMBER, ROCHELLE WELLS, IN HER OFFICIAL CAPACITY AS
  LLANO COUNTY LIBRARY BOARD MEMBER, RHONDA SCHNEIDER, IN HER OFFICIAL
          CAPACITY AS LLANO COUNTY LIBRARY BOARD MEMBER, AND
GAY BASKIN, IN HER OFFICIAL CAPACITY AS LLANO COUNTY LIBRARY BOARD MEMBER,

                                                               Defendants-Appellants.

                    Appeal from the United States District Court
                for the Western District of Texas, Austin Division
                               1:22-cv-00424-RP

    APPELLEES’ RESPONSE IN OPPOSITION TO APPELLANTS’
    MOTION TO EXPEDITE CONSIDERATION OF MOTION TO
                   EXPEDITE APPEAL
                          (Counsel Listed Inside Cover)




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      Appellants ask this Court to expedite consideration of their motion to
expedite their appeal but fail to provide the “good cause” required by this Court’s
Rules. Lacking any basis, this motion must be denied.
      Because a party seeking expedited consideration of an appeal must provide a
basis for that relief, that party must also provide a basis for expedited consideration
of a motion for such expedited consideration. Fifth Circuit Rule 27.5 requires that:
“Only the court may expedite an appeal and only for good cause.” See U.S. v.
Cluck, 190 F.3d 538, 538, 1999 WL 642875, at *1, Nos. 98-50440, 98-50682 (5th
Cir. July 27, 1999) (per curiam) (denying motion to expedite appeal for lack of
good cause shown); U.S. v. Porter, 68 F.3d 468, 468, 1995 WL 581640, at *6, No.
95-60163 (5th Cir. Aug. 30, 1995) (per curiam) (same; incarcerated person’s desire
to avoid potential overdetention did not satisfy good cause requirement). Fifth
Circuit Rule 27.4 further requires that, “[w]here . . . the party has a serious need for
the court to act within a specified time, the motion must state the time requirement
and describe both the nature of the need and the facts that support it.”
      Appellants say nothing about the nature of their need to advance
consideration of their underlying appeal with such speed—let alone consideration
of the motion to expedite the motion to expedite the appeal. They state only that
“they are requesting a briefing schedule that will allow oral argument to be heard
in July of 2023.” Appellants’ Motion to Expedite Consideration of Motion to
Expedite, Doc. 18, at 2. They do not explain what exigent circumstances would
require them to be heard by that date or provide any facts that would compel such a
compressed schedule. Appellants’ motion indicates Appellants would prefer an
oral argument in July 2023. But a mere desire to be heard on a specific date alone
is not sufficient cause to force the parties through expedited briefing. If that were
so, any party would have grounds to expedite its appeal to obtain a preferred
hearing date.

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      There are no circumstances here that warrant expediting consideration of
Appellants’ motion to expedite their appeal. As Appellees’ response to Appellants’
motion to expedite their appeal will set forth more fully, Appellants cannot identify
any harm to them from adhering to the District Court’s preliminary injunction,
which requires only that Appellants re-list for checkout in a county public library
catalog the 17 books that they unjustifiably removed. Nor is there any other reason
to move through this appeal with such speed. While Appellants’ underlying motion
to expedite consideration of their appeal alludes to potential mootness, Appellants’
concern that they may ultimately be subject to a permanent (rather than
preliminary) injunction was not raised on this motion nor is it sufficient good cause
to expedite an appeal—particularly since a permanent injunction would also be
subject to an appeal.
      In any event, Appellees cannot respond to Appellants’ motion to expedite,
filed today, by this Friday, April 28. Appellees’ counsel face significant time
constraints from this case and other case commitments this week. In this case,
certain Appellees’ counsel must (1) prepare a response to Appellants’ motion to
stay the preliminary injunction in the District Court to be filed later today,
Tuesday, April 25; and (2) prepare and appear for argument on six motions before
the District Court to compel discovery from Appellants, which will take much of
the day on Thursday, April 27. Appellees’ additional counsel are also unavailable
as they are preparing for and attending depositions in multiple matters for the
remainder of the week. Preparing a fulsome response to Appellants’ motion in
three days with no available time to do so is not feasible.
      Because Appellants fail to show good cause for their motion, and because no
such good cause exists, Appellants’ motion to expedite consideration of their
motion to expedite their appeal should be denied.


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     Dated: April 25, 2023           Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

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                                             /s/ Katherine P. Chiarello
                                             Katherine P. Chiarello




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 25th day of April, 2023, I electronically
submitted the foregoing to the Clerk of the Court of the United States Court of
Appeals for the Fifth Circuit using the Court’s ECF system, which sent a Notice of
Electronic Filing to the attorneys of record.

                                             /s/ Katherine P. Chiarello
                                             Katherine P. Chiarello




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